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 UNITED STATES        OF AMERICA                             *
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         v.                                                  *      CRIMINAL          NO:         -n~rLj-<6 if 6> L l
                                                             *
 LISSA MEL,                                                  *      (Conspiracy       to Commit                    Wire Fraud,
    alk/a "Monica    Sanders,"                               *      18 U.S.c. 9371)
                                                             *
                Defendant                                    *
                                                      *******
                                          INFORMATION

        The Acting Chief of the U.S. Department of Justice, Criminal Division, Fraud Section

charges that:

                                    GENERAL         ALLEGATIONS

                                 The Defendant      and Related        Entities

        I.      The defendant, LISSA MEL ("MEL"),                  was a resident of the country oflsrael.

        2.      Yukom Communications            was an Israel.based        business      that provided                          sales and

marketing services, including "retention services" for two internet-based               businesses with the brand

names BinaryBook    and BigOption.

        3.      BinaryBook   and BigOption        sold and marketed          financial        instruments                      known as

"binary options."   Binaryl300k    and BigOption       sold and marketed            binary options to customers

located throughout the world, including in the United States and within the District of Maryland.

        4.      Yukom provided      retention     services       on behalf of Binaryl300k                         and Big Option

through the use of communications       by email and by phone to individuals                          in the United States,

including in the District of Maryland, and elsewhere throughout                   the world.                 Retention services

were services provided with the objective to obtain additional deposits from investors who had

prcviously made deposits.
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        5.      A conversion agent was a salesperson responsible for converting a prospective

binary options customer into an investor and obtaining an initial deposit of funds. A retention

agent was responsible for working with the investor going forward with the goal of obtaining

additional deposits.    Yukom salespeople sometimes referred to themselves as "brokers" or

"traders" to potential investors.

        6.     From in or about May 2015 though in or about December 2016, MEL worked as a

sales representative for BigOption and BinaryBook.

        7.     In correspondence and other communications, MEL identified herself as a "Senior

Broker," "Account Manager," or "Expert Trader" for I3igOption and/or BinaryBook.

                                           Binary Options

        8.     A binary option was a type of option contract in which the payout depended on the

outcome of a discrete event, typically related to whether the price of a particular asset-such   as a

stock or a commodity-would          rise above or fall below a specified amount.   Unlike standard

options, investors in binary options were not being given the opportunity to actually purchase a

stock or a commodity but, rather, were effectively predicting whether its price would be above or

below a certain amount at a certain time of the day. The option holder was typically promised

that when the binary option expired, the option holder would receive either a pre-determined

amount of cash or nothing.

       9.      While some binary options were listed on registered exchanges or traded on a

designated contract market that were subject to oversight by U.S. regulators such as the Securities

and Exchange Commission and the Commodity Futures Trading Commission, neither BinaryBook

nor I3igOption sold binary options that were traded on a legal and regulated designated contract

market in the United States.




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                                         Related Definitions

        10.       A "bonus" was an amount that representatives of BinaryBook and BigOption could

contributc to an investor's account to be used in trading.

        11.       A "risk free trade" or "insured trade" was a tradc offered by represcntatives to

investors in which thc invcstors' accounts would be reimbursed by "bonus" funds in the event of

a losing trade.

                                             The Victims

        12.       Victim 1, an investor in BinaryBook, was a resident of Gaithersburg, Maryland,

located in the District of Maryland.

        13.       Victim 2, an investor in BinaryBook, was a resident of Annapolis, Maryland,

located in the District of Maryland.

                                            COUNT ONE
                                (Conspiracy to Commit Wire Fraud)

        14.       Paragraphs 1 through 13 of this Information are incorporated here.

        15.       Beginning in or about May 2015 through in around December 2016, in the District

of Maryland and elsewhere, the defendant,

                                            LISSA MEL

and othcrs known and unknown, did knowingly combine, conspire, confedcrate, and agree to

commit wire fraud, that is, with the intent to furthcr the objects of the conspiracy, knowingly

eombinc, conspire, confederate, and agree with othcrs known and unknown to commit wire fraud,

that is, having devised and intended to devise a schcmc and artifice to defraud and to obtain moncy

and property by means of materially false and fraudulcnt pretenses, represcntations, promises, and

knowing concealment concerning a material fact or matter, to transmit and cause to be transmittcd

by means of wire communications in interstate and foreign commerce, writings, signs, signals,



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pictures and sounds for the purpose of executing the scheme to defraud, in violation of Title 18,

United States Code, Section 1343.

                                    Purpose of the Conspiracy

        17.    It was the purpose of the conspiracy for MEL and representatives of Yukom,

BinaryBook, BigOption, and other entities, to obtain the maximum deposit from investors and to

take steps to ensure that investors lost the money in their accounts-thereby    making money for

themselves and their brand in the process.

                             Manner and Means of the Conspiracy

        18.    MEL and her co-conspirators induced investors 10 deposit funds based on

misrepresentations, including: (I) talse statements and material omissions regarding the alignment

of financial incentives between investors and representatives; (2) false statements and material

omissions regarding the suitability of binary options as investments and retums on investments in

binary options; (3) false statements and material omissions about the names, qualifications, and

physical location of representatives assisting investors; and (4) false statements and material

omissions regarding investors' ability to withdraw investment funds and about the reasons that

funds could not be withdrawn.     Representatives of BinaryBook and BigOption also made false

statements and material omissions regarding-and        engaged in the deceptive use of-so-called

"bonuses," "risk tree trades," and "insured trades,"

                         Overt Acts in Furtherance of the Conspiraev

        19.    In furtherance of the conspiracy and to effect the objects of the conspiracy, the

following overt acts, among others, were committed in the District of Maryland and elsewhere:

       a.      On or about August 28, 2015, a BinaryBook representative sent an email through

               interstate and foreign commerce to Victim I on behalf of BinaryBook at Victim I's




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                Google email account regarding bank wire transfer instructions while Victim 1 was

                in the District of Maryland.

       b.       On or about June 15, 2016, an email was sent through' interstate and foreign

                commerce on behalf of BinaryBook's "Compliance Department" to Victim 2 at

                Victim 2's Apple email account requesting the completion of a Deposit

                Confirmation Form while Victim 2 was in the District of Maryland.

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